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 1                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2                                ---

 3     UNITED STATES OF AMERICA             :   CRIMINAL ACTION
                                            :
 4             vs.                          :
                                            :
 5     KABONI SAVAGE,                       :
       KIDADA SAVAGE,                       :
 6     STEVEN NORTHINGTON,                  :
       ROBERT MERRITT                       :   NO. 07-00550
 7
                       PHILADELPHIA, PENNSYLVANIA
 8                            May 13, 2013
                BEFORE HONORABLE R. BARCLAY SURRICK, J.
 9                          VERDICT - DAY 55

10
       APPEARANCES:
11

12     FOR THE GOVERNMENT:         U.S. ATTORNEY'S OFFICE
                                   BY: DAVID TROYER, ESQUIRE
13                                      JOHN GALLAGHER, ESQUIRE
                                        STEVEN MELLIN, ESQUIRE
14                                 615 Chestnut Street, Suite 1250
                                   Philadelphia, Pennsylvania 19106
15

16
       FOR KABONI SAVAGE:          LAW OFFICE OF WILLIAM J. PURPURA
17                                 BY: WILLIAM J. PURPURA, ESQUIRE
                                   The Bonaparte Building
18                                 6 East Mulberry Street
                                   Baltimore, Maryland 21202-2105
19

20                                 RUBINO & HOEY, LLC
                                   BY: CHRISTIAN J. HOEY, ESQUIRE
21                                 50 Darby Road
                                   Paoli, Pennsylvania 19301
22

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25

                          Gregg B. Wolfe, RPR, CM
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 1     FOR KIDADA SAVAGE:             BARTON & PHILLIPS
                                      BY: CHRISTOPHER PHILLIPS, ESQUIRE
 2                                    1518 Walnut Street, Suite 1406
                                      Philadelphia, Pennsylvania 19102
 3
                                      TERESA WHALEN, ESQUIRE
 4                                    801 Wayne Avenue, Suite 400
                                      Silver Spring, Maryland 20910
 5

 6     FOR STEVEN NORTHINGTON: THOMAS C. EGAN, III, ESQUIRE
                               621 Swede Street
 7                             Norristown, Pennsylvania 19401

 8                                    WILLIAM L. BOWE, ESQUIRE
                                      153 East Wolfert Station Road
 9                                    Mickleton, New Jersey 08056

10
       FOR ROBERT MERRITT:            McKINNEY & GEORGE
11                                    BY: PAUL M. GEORGE, ESQUIRE
                                      239 S. Camac Street
12                                    Philadelphia, Pennsylvania 19107

13                                    WILLIAM R. SPADE, JR., ESQUIRE
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14                                    Philadelphia, Pennsylvania 19102

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22
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24                  Philadelphia, Pennsylvania 19106

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 1                   (The Court began the proceedings at

 2     3:45 p.m.)

 3                      THE COURT:     All right, counsel, we

 4     received a note from the jury indicating that

 5     they've reached a verdict.          We're going to bring

 6     them in and take that verdict.           Okay?

 7                 (The jury entered the courtroom

 8     at 3:45 p.m.)

 9                      THE COURT:     All right, have a seat,

10     ladies and gentlemen.

11                 All right, will the foreperson of the

12     jury please rise?

13                 Madam Forelady, I understand that you

14     have reached a verdict in this case; is that

15     correct?

16                      MADAM FORELADY:       Yes, we have.

17                      THE COURT:     May I see the verdict

18     slip first, please?

19                 (Verdict slip handed to the Court.)

20                      THE COURT:     All right,

21     Ms. Franzese, will you please take the verdict?

22

23                      THE CLERK:     Members of the jury,

24     having agreed on a verdict, will the foreperson

25     please answer?

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 1                 Count 1, conspiracy to participate in a

 2     racketeering RICO enterprise, in violation of

 3     18 United States Code Section 1962(d).

 4                 You, the jury, as to Count 1,

 5     unanimously find the defendant, Kaboni Savage,

 6     guilty or not guilty?

 7                      MADAM FORELADY:       Guilty.

 8                      THE CLERK:     You, the jury, as to

 9     Count 1, unanimously find the defendant,

10     Robert Merritt, guilty or not guilty?

11                      MADAM FORELADY:       Guilty.

12                      THE CLERK:     You, the jury, as to

13     Count 1, unanimously find the defendant, Steven

14     Northington, guilty or not guilty?

15                      MADAM FORELADY:       Guilty.

16                      THE CLERK:     You, the jury, as to

17     Count 1, unanimously find the defendant,

18     Kidada Savage, guilty or not guilty?

19                      MADAM FORELADY:       Guilty.

20                      THE CLERK:     Special Sentencing

21     Factor Number 1, the drug distribution

22     conspiracy.

23                 You, the jury, unanimously find that

24     Sentencing Factor Number 1 as to the defendant,

25     Kaboni Savage, is proven or not proven?

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 1                      MADAM FORELADY:       Proven.

 2                      THE CLERK:     You, the jury,

 3     unanimously find that Sentencing Factor Number 1

 4     as to the defendant, Robert Merritt, is proven

 5     or not proven?

 6                      MADAM FORELADY:       Not proven.

 7                      THE CLERK:     You, the jury,

 8     unanimously find that Sentencing Factor Number 1

 9     as to Defendant Steven Northington is proven or

10     not proven?

11                      MADAM FORELADY:       Not proven.

12                      THE CLERK:     You, the jury,

13     unanimously find that Sentencing Factor Number 1

14     as to Defendant Kidada Savage is proven or not

15     proven?

16                      MADAM FORELADY:       Not proven.

17                      THE CLERK:     Special Factor

18     Number 2, the Kenneth Lassiter murder.

19                 You, the jury, unanimously find that

20     Sentencing Factor Number 2 as to Defendant

21     Kaboni Savage is proven or not proven?

22                      MADAM FORELADY:       Proven.

23                      THE CLERK:     Special Sentencing

24     Factor Number 3, the Mansur Abdullah murder.

25                 You, the jury, unanimously find that

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 1     Sentencing Factor Number 3 as to Defendant

 2     Kaboni Savage is proven or not proven?

 3                      MADAM FORELADY:       Proven.

 4                      THE CLERK:     Special Sentencing

 5     Factor Number 4, the Carlton Brown murder.

 6                 You, the jury, unanimously find that

 7     Sentencing Factor Number 4 as to Defendant

 8     Kaboni Savage is proven or not proven?

 9                      MADAM FORELADY:       Proven.

10                      THE CLERK:     Special Sentencing

11     Factor Number 5, the Barry Parker murder.

12                 You, the jury, unanimously find that

13     Sentencing Factor Number 5 as to Defendant

14     Kaboni Savage is proven or not proven?

15                      MADAM FORELADY:       Proven.

16                      THE CLERK:     You, the jury,

17     unanimously find that Sentencing Factor Number 5

18     as to Defendant Steven Northington is proven or

19     not proven?

20                      MADAM FORELADY:       Proven.

21                      THE CLERK:     Special Sentencing

22     Factor Number 6, the Tyrone Toliver murder.

23                 You, the jury, unanimously find that

24     Sentencing Factor Number 6 as to Defendant

25     Kaboni Savage is proven or not proven?

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 1                      MADAM FORELADY:       Proven.

 2                      THE CLERK:     Special Sentencing

 3     Factor Number 7, the Tybius Flowers murder.

 4                 You, the jury, unanimously find that

 5     Sentencing Factor Number 7 as to Defendant

 6     Kaboni Savage is proven or not proven?

 7                      MADAM FORELADY:       Proven.

 8                      THE CLERK:     You, the jury,

 9     unanimously find that Sentencing Factor Number 7

10     as to Defendant Steven Northington is proven or

11     not proven?

12                      MADAM FORELADY:       Proven.

13                      THE CLERK:     Special Sentencing

14     Factors Number 9 through Number 14, the Coleman

15     family murders.

16                 You, the jury, unanimously find that

17     Sentencing Factors Number 9 through Number 14 as

18     to Defendant Kaboni Savage are proven or not

19     proven?

20                      MADAM FORELADY:       Proven.

21                      THE CLERK:     You, the jury,

22     unanimously find that Sentencing Factors

23     Number 9 through 14 as to Defendant

24     Robert Merritt are proven or not proven?

25                      MADAM FORELADY:       Proven.

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 1                      THE CLERK:     You, the jury,

 2     unanimously find that Sentencing Factors

 3     Number 9 through 14 as to Defendant

 4     Kidada Savage are proven or not proven?

 5                      MADAM FORELADY:       Proven.

 6                      THE CLERK:     Special Sentencing

 7     Factor Number 15, witness retaliation resulting

 8     in the Coleman family murders.

 9                 You, the jury, unanimously find that

10     Sentencing Factor Number 15 as to Defendant

11     Kaboni Savage is proven or not proven?

12                      MADAM FORELADY:       Proven.

13                      THE CLERK:     You, the jury,

14     unanimously find that Sentencing Factor

15     Number 15 as to Defendant Robert Merritt is

16     proven or not proven?

17                      MADAM FORELADY:       Not proven.

18                      THE CLERK:     You, the jury,

19     unanimously find that Sentencing Factor

20     Number 15 as to Defendant Kidada Savage is

21     proven or not proven?

22                      MADAM FORELADY:       Proven.

23                      THE CLERK:     Count 2, murder in aid

24     of racketeering of Kenneth Lassiter, in

25     violation of 18 United States Code Section

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 1     1959(a)(1).

 2                 You, the jury, as to Count 2,

 3     unanimously find the defendant, Kaboni Savage,

 4     guilty or not guilty?

 5                      MADAM FORELADY:       Guilty.

 6                      THE CLERK:     Count 3, murder in aid

 7     of racketeering of Mansur Abdullah, in violation

 8     of 18 United States Code Section 1959(a)(1).

 9                 You, the jury, as to Count 3,

10     unanimously find the defendant, Kaboni Savage,

11     guilty or not guilty?

12                      MADAM FORELADY:       Guilty.

13                      THE CLERK:     Count 4, murder in aid

14     of racketeering of Carlton Brown, in violation

15     of 18 United States Code Section 1959(a)(1).

16                 You, the jury, as to Count 4,

17     unanimously find the defendant, Kaboni Savage,

18     guilty or not guilty?

19                      MADAM FORELADY:       Guilty.

20                      THE COURT:     All right,

21     Ms. Franzese, you may continue.

22                      THE CLERK:     Count 5, murder in aid

23     of racketeering of Barry Parker, in violation of

24     18 United States Code Section 1959(a)(1).

25                 You, the jury, as to Count 5,

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 1      unanimously find the defendant, Kaboni Savage,

 2      guilty or not guilty?

 3                      MADAM FORELADY:       Guilty.

 4                      THE CLERK:      You, the jury, as to

 5      Count 5, unanimously find the defendant, Steven

 6      Northington, guilty or not guilty?

 7                      MADAM FORELADY:       Guilty.

 8                      THE CLERK:      Count 6, murder in aid

 9      of racketeering of Tyrone Toliver, in violation

10      of 18 United States Code Section 1959(a)(1).

11                 You, the jury, as to Count 6,

12      unanimously find the defendant, Kaboni Savage,

13      guilty or not guilty?

14                      MADAM FORELADY:       Guilty.

15                      THE CLERK:      Count 7, murder in aid

16      of racketeering of Tybius Flowers, in violation

17      of 18 United States Code Section 1959(a)(1).

18                 You, the jury, as to Count 7,

19      unanimously find the defendant, Kaboni Savage,

20      guilty or not guilty?

21                      MADAM FORELADY:       Guilty.

22                      THE CLERK:      You, the jury, as to

23      Count 7, unanimously find the defendant, Steven

24      Northington, guilty or not guilty?

25                      MADAM FORELADY:       Guilty.

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 1                      THE CLERK:      Count 9, conspiracy to

 2      commit murder in aid of racketeering of the

 3      Coleman family, in violation of 18 United States

 4      Code Section 1959(a)(5).

 5                 You, the jury, as to Count 9,

 6      unanimously find the defendant, Kaboni Savage,

 7      guilty or not guilty?

 8                      MADAM FORELADY:       Guilty.

 9                      THE CLERK:      You, the jury, as to

10      Count 9, unanimously find the defendant,

11      Robert Merritt, guilty or not guilty?

12                      MADAM FORELADY:       Not guilty.

13                      THE CLERK:      Count 10, murder in aid

14      of racketeering of Marcella Coleman, in

15      violation of 18 United States Code Section

16      1959(a)(1).

17                 You, the jury, as to Count 10,

18      unanimously find the defendant, Kaboni Savage,

19      guilty or not guilty?

20                      MADAM FORELADY:       Guilty.

21                      THE CLERK:      You, the jury, as to

22      Count 10, unanimously find the defendant,

23      Robert Merritt, guilty or not guilty?

24                      MADAM FORELADY:       Not guilty.

25                      THE CLERK:      You, the jury, as to

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 1      Count 10, unanimously find the defendant,

 2      Kidada Savage, guilty or not guilty?

 3                      MADAM FORELADY:       Guilty.

 4                      THE CLERK:      Count 11, murder in aid

 5      of racketeering of Tameka Nash, in violation of

 6      18 United States Code section 1959(a)(1).

 7                 You, the jury, as to Count 11,

 8      unanimously find the defendant, Kaboni Savage,

 9      guilty or not guilty?

10                      MADAM FORELADY:       Guilty.

11                      THE CLERK:      You, the jury, as to

12      Count 11, unanimously find the defendant,

13      Robert Merritt, guilty or not guilty?

14                      MADAM FORELADY:       Not guilty.

15                      THE CLERK:      You, the jury, as to

16      Count 11, unanimously find the defendant,

17      Kidada Savage, guilty or not guilty?

18                      MADAM FORELADY:       Guilty.

19                      THE CLERK:      Count 12, murder in aid

20      of racketeering of Sean Anthony Rodriguez, in

21      violation of 18 United States Code Section

22      1959(a)(1).

23                 You, the jury, as to Count 12,

24      unanimously find the defendant, Kaboni Savage,

25      guilty or not guilty?

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 1                      MADAM FORELADY:       Guilty.

 2                      THE CLERK:      You, the jury, as to

 3      Count 12, unanimously find the defendant,

 4      Robert Merritt, guilty or not guilty?

 5                      MADAM FORELADY:       Not guilty.

 6                      THE CLERK:      You, the jury, as to

 7      Count 12, unanimously find the defendant,

 8      Kidada Savage, guilty or not guilty?

 9                      MADAM FORELADY:       Guilty.

10                      THE CLERK:      Count 13, murder in aid

11      of racketeering of Tajh Porchea, in violation of

12      18 United States Code Section 1959(a)(1).

13                 You, the jury, as to Count 13,

14      unanimously find the defendant, Kaboni Savage,

15      guilty or not guilty?

16                      MADAM FORELADY:       Guilty.

17                      THE CLERK:      You, the jury, as to

18      Count 13, unanimously find the defendant,

19      Robert Merritt, guilty or not guilty?

20                      MADAM FORELADY:       Not guilty.

21                      THE CLERK:      You, the jury, as to

22      Count 13, unanimously find the defendant,

23      Kidada Savage, guilty or not guilty?

24                      MADAM FORELADY:       Guilty.

25                      THE CLERK:      Count 14, murder in aid

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 1      of racketeering of Khadijah Nash, in violation

 2      of 18 United States Code Section 1959(a)(1).

 3                 You, the jury, as to Count 14,

 4      unanimously find the defendant, Kaboni Savage,

 5      guilty or not guilty?

 6                      MADAM FORELADY:       Guilty.

 7                      THE CLERK:      You, the jury, as to

 8      Count 14, unanimously find the defendant,

 9      Robert Merritt, guilty or not guilty?

10                      MADAM FORELADY:       Not guilty.

11                      THE CLERK:      You, the jury, as to

12      Count 14, unanimously find the defendant,

13      Kidada Savage, guilty or not guilty?

14                      MADAM FORELADY:       Guilty.

15                      THE CLERK:      Count 15, murder in aid

16      of racketeering of Damir Jenkins, in violation

17      of 18 United States Code Section 1959(a)(1).

18                 You, the jury, as to Count 15,

19      unanimously find the defendant, Kaboni Savage,

20      guilty or not guilty?

21                      MADAM FORELADY:       Guilty.

22                      THE CLERK:      You, the jury, as to

23      Count 15, unanimously find the defendant,

24      Robert Merritt, guilty or not guilty?

25                      MADAM FORELADY:       Not guilty.

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 1                      THE CLERK:      You, the jury, as to

 2      Count 15, unanimously find the defendant,

 3      Kidada Savage, guilty or not guilty?

 4                      MADAM FORELADY:       Guilty.

 5                      THE CLERK:      Count 16, retaliating

 6      against a witness, Eugene Coleman, by murder,

 7      the Coleman family, in violation of 18 United

 8      States Code Section 1513.

 9                 You, the jury, as to Count 16,

10      unanimously find the defendant, Kaboni Savage,

11      guilty or not guilty?

12                      MADAM FORELADY:       Guilty.

13                      THE CLERK:      You, the jury, as to

14      Count 16, unanimously find the defendant,

15      Robert Merritt, guilty or not guilty?

16                      MADAM FORELADY:       Not guilty.

17                      THE CLERK:      You, the jury, as to

18      Count 16, unanimously find the defendant,

19      Kidada Savage, guilty or not guilty?

20                      MADAM FORELADY:       Guilty.

21                      THE CLERK:      Count 17, using fire to

22      commit a felony, the Coleman murders, in

23      violation of 18 United States Code Section

24      844(h)(1).

25                 You, the jury, as to Count 17,

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 1      unanimously find the defendant, Kaboni Savage,

 2      guilty or not guilty?

 3                      MADAM FORELADY:       Guilty.

 4                      THE CLERK:      You, the jury, as to

 5      Count 17, unanimously find the defendant,

 6      Kidada Savage, guilty or not guilty?

 7                      MADAM FORELADY:       Guilty.

 8                      THE CLERK:      Please be seated.

 9                      THE COURT:      With regard to

10      Robert Merritt on Count 17, there was no answer.

11      Correct?

12                      THE CLERK:      Correct.

13                      THE COURT:      Is that correct, Madam

14      Forelady?

15                      MADAM FORELADY:       Yes, that's

16      correct.

17                      THE COURT:      Counsel, are there any

18      requests?

19                      MR. HOEY:      One moment, please, Your

20      Honor.

21                  Your Honor, on behalf of Mr. Savage,

22      we'd ask that the jury be polled.

23                      MR. PHILLIPS:       On behalf of

24      Kidada Savage, I'd ask that the jury be polled.

25                      THE COURT:      Will you poll the jury,

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 1      please?

 2                      THE CLERK:      Juror Number 1, please

 3      rise.

 4                 Do you agree with the verdict as stated

 5      by the Forelady?

 6                      JUROR NO. 1:      Yes, I do.

 7                      THE CLERK:      Thank you.     Please be

 8      seated.

 9                 Juror Number 2, please rise.

10                 Do you agree with the verdict as stated

11      by the Forelady?

12                      JUROR NO. 2:      Yes, I do.

13                      THE CLERK:      Thank you.     Please be

14      seated.

15                 Juror Number 3, please rise.

16                 Do you agree with the verdict as stated

17      by the Forelady?

18                      JUROR NO. 3:      Yes, I do.

19                      THE CLERK:      Thank you.     Please be

20      seated.

21                 Juror Number 4, please rise.

22                 Do you agree with the verdict as stated

23      by the Forelady?

24                      JUROR NO. 4:      I do.

25                      THE CLERK:      Thank you.     Please be

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 1      seated.

 2                 Juror Number 5, do you agree with the

 3      verdict as stated by the Forelady?

 4                      JUROR NO. 5:      I do.

 5                      THE CLERK:      Thank you.     Please be

 6      seated.

 7                 Juror Number 6, please rise.

 8                 Do you agree with the verdict as stated

 9      by the Forelady?

10                      JUROR NO. 6:      Yes, I do.

11                      THE CLERK:      Thank you.     Please be

12      seated.

13                 Juror Number 7, please rise.

14                 Do you agree with the verdict as stated

15      by the Forelady?

16                      JUROR NO. 7:      Yes, I do.

17                      THE CLERK:       Thank you, please be

18      seated.

19                 Juror Number 8, please rise.

20                 Madam Forelady, do you agree with the

21      verdict as stated?

22                      MADAM FORELADY:       Yes, I do.

23                      THE CLERK:      Thank you.     Please be

24      seated.

25                 Juror Number 9, please rise.

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 1                 Do you agree with the verdict as stated

 2      by the Forelady?

 3                      JUROR NO. 9:      Yes, I do.

 4                      THE CLERK:      Thank you.     Please be

 5      seated.

 6                 Juror Number 10, please rise.

 7                 Do you agree with the verdict as stated

 8      by the Forelady?

 9                      JUROR NO. 10:       Yes, I do.

10                      THE CLERK:      Thank you.     Please be

11      seated.

12                 Juror Number 11, please rise.

13                 Do you agree with the verdict as stated

14      by the Forelady?

15                      JUROR NO. 11:       Yes, I do.

16                      THE CLERK:      Thank you.     Please be

17      seated.

18                 Juror Number 12, please rise.

19                 Do you agree with the verdict as stated

20      by the Forelady?

21                      JUROR NO. 12:       Yes, I do.

22                      THE CLERK:      Thank you.     Please be

23      seated.

24                      THE COURT:      All right, the verdict

25      in the guilt phase of this trial would appear to

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 1      be in order, and it may be recorded.

 2                      THE CLERK:      Members of the jury,

 3      hearken unto your verdict as the Court has now

 4      recorded it.

 5                  In the issue joined in Bill of Fourth

 6      Superseding Indictment Number 05-07-550, between

 7      the United States of America and Kaboni Savage,

 8      Robert Merritt, Steven Northington,

 9      Kidada Savage, you have found the following:

10                  Defendant Kaboni Savage guilty as to

11      Counts 1 through 7 and 9 through 17, proven as

12      to Sentencing Factors 1 through 7 and 9 through

13      15.

14                  Defendant Robert Merritt, guilty as to

15      Count 1, not guilty as to Counts 9 through 16,

16      proven as to Sentencing Factors 9 through 14,

17      not proven as to Sentencing Factors 1 and 15.

18                  Defendant Steven Northington, guilty as

19      to Counts 1, 5 and 7, proven as to Sentencing

20      Factors 5 and 7, not proven as to Sentencing

21      Factor 1.

22                  Defendant Kidada Savage, guilty as to

23      Counts 1 and 10 through 17, proven as to

24      Sentencing Factors 9 through 14 and 15, not

25      proven as to Sentencing Factor 1.

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 1                 And so say you all?

 2                      THE JURY:      So say we all.

 3                      THE CLERK:      Thank you.

 4                      THE COURT:      All right, ladies and

 5      gentlemen, you have completed your task as it

 6      relates to the guilt phase of this trial.

 7                 As I told you, and as you are well

 8      aware, we will now move into the penalty phase

 9      of the trial.      However, at this juncture what

10      we're going to do is recess Court until next

11      Monday.    It's necessary to do that, ladies and

12      gentlemen, so counsel will have the opportunity

13      to prepare for the penalty phase.

14                 Counsel will have to consult with and

15      make arrangements for having witnesses present

16      in the penalty phase, and we're going to give

17      them until next Monday to prepare, to get ready,

18      and we will begin the penalty phase next Monday.

19                 Now, I want to caution you, as I have

20      cautioned you every time you left this jury box.

21      It's very important that you pay attention to

22      what I'm saying.       You have just completed your

23      job as jurors in the guilt phase of this trial,

24      but there is the penalty phase that we have to

25      proceed into.

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 1                 We do not want you discussing this case

 2      with anyone and we don't want anyone discussing

 3      this case with you.        Do not get outside input,

 4      ladies and gentlemen.        Your job is not over.

 5      You're going to be back here next week.             You're

 6      going to hear arguments of counsel, you're going

 7      to hear testimony of witnesses and you're going

 8      to have to make some decisions.           Your job is not

 9      over.

10                 We do not want you to get any outside

11      input from any source at all.           Don't do any

12      independent investigation of this matter, ladies

13      and gentlemen.      Don't read anything about this

14      case.    I'm sure that there will be something in

15      the media about it at this juncture.             Do not

16      read anything about this case or listen to

17      anything about this case.         Okay?

18                 You put your hand on a Bible, you swore

19      to well and truly try this case based upon the

20      evidence presented here in this courtroom.                 And,

21      ladies and gentlemen, that is exactly what we

22      want you to do.       Don't get outside input at all.

23      Okay?

24                 At this juncture, I'm going to ask my

25      staff to take you out to your jury room.              We

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 1      have a few things that we need to do before

 2      we're going to recess completely for the day.

 3      When we have accomplished those tasks, we will

 4      let you go on your way.

 5                 Now, I want you to be back, as I said,

 6      on Monday and I want you to be back at 9:30.

 7      Okay?    We will begin promptly.         Counsel will be

 8      prepared by then, and we will begin promptly.

 9      Okay?    So we'll see you next Monday at 9:30 in

10      the morning, and we will proceed through the

11      next phase of this trial.

12                 (The jury exited the courtroom at

13      4:17 p.m.)

14                      THE COURT:      Counsel, we're going to

15      excuse the alternates and tell them to be back

16      next week.     Then I'll speak with you briefly.

17                 While we're waiting for the alternates,

18      have a seat.

19                 (Whereupon the alternate jurors entered

20      the courtroom.)

21                      THE COURT:      All right, alternate

22      members of the jury, at this point what I'm

23      going to do is excuse you and ask you to be back

24      here next Monday.       Okay?

25                 The 12 original jurors who have been

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 1      deliberating in this matter have reached a

 2      verdict.     We have just taken that verdict here

 3      in open court, but your tour of duty is not over

 4      as theirs is not over.

 5                  The next phase of this trial, the

 6      penalty phase, we're going to begin next Monday.

 7      We're going to give counsel the opportunity to

 8      get ready for that phase of the trial.

 9                  I'm going to ask you to be back here on

10      Monday, at 9:30, ready to go, and I'm going to

11      give you those same instructions that I've given

12      you all the way along in this case.

13                  Don't talk to anybody about this

14      matter.     Don't let anybody talk to you.          Don't

15      do any independent investigation.            Don't read

16      anything about it.       Don't listen to anything

17      about it.     Don't get on a computer and

18      communicate with anybody about it.            Take the

19      matter as it's presented here in this courtroom.

20                  It may very well be, ladies and

21      gentlemen, that next week one or more of you

22      could get pressed into service in this matter,

23      so it's important that you live up to your oath

24      as jurors.     Okay?

25                  So we'll see you next Monday, at 9:30.

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 1      When my staff takes you back to the jury room

 2      that you've been using during the course of this

 3      trial, they will advise you as to the verdict

 4      that was rendered by the jury in this case so

 5      that you're aware of that.          Okay?

 6                  (The alternate jurors were excused from

 7      the courtroom.)

 8                      THE COURT:      Counsel, here's what

 9      we're going to do at this point.            First of all,

10      I'm going to let the Marshals clear the

11      courtroom, and we'll give you some time to talk

12      with your clients about the situation at this

13      juncture.

14                  After you've had an opportunity to do

15      that, I want to meet with counsel in chambers to

16      talk about where we're going next week.             Okay?

17                  You have as much time as you need or

18      want to talk with your clients at this juncture,

19      and then I will meet with all counsel,

20      government counsel included, in chambers and we

21      will talk about the penalty phase of this trial.

22      Okay?

23                  Recess.

24                  (The Court adjourned the proceedings at

25      4:23 p.m.)

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 1                       C E R T I F I C A T I O N

 2

 3

 4                   I certify that the foregoing is a correct

 5      transcript from the record of the proceedings in the

 6      above-entitled matter.

 7

 8

 9      _________                       ____________________________
          Date                          Gregg B. Wolfe, R.P.R., C.M.
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